Case: 1:18-cv-00208-CAB Doc #: 1-1 Filed: 01/26/18 1o0f6. PagelD #: 7

Pro Se 2 (Rev. 12/16} Complaint and Request for Injunction

UNITED STATES DISTRICT COURT

for the

Northern District of Chio

Civil Division

ANDRE MARQUIS COHEN

 

Plaintiffs)
(Prite the full name of each plaintiff who is filing this complaint.
if the names of ail the plaintiffs cannot fit tit the space above,
please write “see attached” in the space and attach an additional
page with the full list of names.)

=f.

“See attached “

 

Defendant(s}
(Write the full name of each defendant who is being sued. Ifthe
names of all the defendants cannot fit in the space abave, please
write “see attached” in the space and attach an additional page
with the full list of names.)

aan 3 18 OY 208

(to be filled in by the Clerk’s Office)

 

COMPLAINT AND REQUEST FOR INJUNCTION

I, The Parties to This Complaint
A. The Plaintiff(s)

Provide the information below for each plaintiff named in the complaint. Attach additional pages if

 

 

 

 

 

needed.
Name ANDRE MARQUIS COHEN
Street Address 204 4 west 19th court
City and County Lorain, Lorain
State and Zip Code OHIO, (44052)
Telephone Number a - ;
E-mail Address Theilleat@gmail.com

B. The Defendant(s)

 

Provide the information below for cach defendant named in the complaint, whether the defendant is an
individual, a government agency, an organization, or a corporation, For an individual defendant,
include the person's job or title (ifinown), Attach additional pages if needed.

Page [ of 6
Pro Se 2 (Rey, 12/§6) Complaint and Request for Injunction

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Case: 1:18-cv-00208-CAB Doc #: 1-1 Filed: 01/26/18 2 of 6. PagelD #: 8

Defendant No. |

Name

 

Job or Title (if known)

 

Street Address

 

City and County

 

State and Zip Cade

 

 

Telephorf Number ,
E-mail Address (if known)

 

Defendant No. 2

Name

 

Job or Title (frown)

 

Street Address

 

City and County

 

State and Zip Code

 

Telephone Number

 

E-mail Address (if known)

 

Defendant No. 3
Name

Job or Title (ifknown)

 

Street Address

 

City and County
State and Zip Code

Telephone Number
E-mail Address fif kiown)

Defendant No. 4
Name

Job or Title Gfknown)

 

Street Address

 

 

City and County

 

State and Zip Cade
Telephone Number
E-mail Address (fknown)

 

Page 2 of 6
Case: 1:18-cv-00208-CAB Doc #: 1-1 Filed: 01/26/18 3 of 6. PagelD #: 9

Pro Se 2 (Rev. 12/16) Complaint and Request for Injunction...

IL.

Basis for Jurisdiction

Federal courts are courts of limited jurisdiction (limited power). Generally, only two types of cases can be
heard in federal court: cases involving a federal question and cases involving diversity of citizenship of the
parties. Under 28 U.S.C. § 1331, a case arising under the United States Constitution or federal laws or treaties
is a federal question case. Under 28 U.S.C. § 1332, a case in which a citizen of one State sues a citizen of
another State or nation and the amount at stake is more than $74,000 is a diversity of citizenship case. In a
diversity of citizenship case, no defendant may be a citizen of the same State as any plaintiff.

What is the basis for federal court jurisdiction? (check all that apply)
[v]Federal question Diversity of citizenship

Fill out the paragraphs in this section that apply to this case.
As If the Basis for Jurisdiction Is a Federal Question

List the specific federal statutes, federal treaties, and/or provisions of the United States Constitution that

are at issue in this case,
What delegation of authority order allows for the defendant to ignore the affiants immunities under the
United States Constitution due process clause, The copyright clause, The right to bear arms,the right to

travel, freedom of religion public law 73-10 dishcharge clause, Ucc 1-308, 2 - 206? Sea exhibits.

 

B. If the Basis for Jurisdiction Is Diversity of Citizenship
1, The Plaintiff(s)

a, If the plaintiff is an individual

The plaintiff, (same) , is a citizen of the

 

State of fname)

 

b. If the plaintiff is a corporation
The plaintiff, ~aame) ANDRE MARQUIS COHEN , is incorporated
under the laws of the State of frame} OHIO :

 

and has its principal place of business in the State of (name)

 

(if more than one plaintiff is named in the complaint, attach an additional page providing the
same information for each additional plaintiff)

2. The Defendant(s)

 

a. If the defendant is an individual
The defendant, frame} MARK JOSEPH MIHOK , is a citizen of
the State of frame) OHIO . Or is a citizen of

 

(foreign nation}

 

Page 3 of 6
Case: 1:18-cv-00208-CAB Doc #: 1-1 Filed: 01/26/18 4 of 6. PagelD #: 10

Pro Se 2 (Rev. 12/16) Complaint and Request for Injunction

Ii.

b. If the defendant is a corporation

The defendant, fame) YNITED STATES DEPARTMENT OF TE> is incorporated under
the laws of the State of frame} WASHINGTON D.C. , and has its

 

principal place of business in the State of (name) WASHINGTON D.C.

Or is incorporated under the laws of (foreign nation) 5

 

and has its principal place of business in frame)

 

(if more than one defendant is named in the complaint, attach an additional page providing the
same information for each additional defendant.)

3. The Amount in Controversy

The amount in controversy—the amount the plaintiff claims the defendant owes or the amount at
stake—is more than $75,000, not counting interest and costs of court, because (explain):
Please see attached exhibits for the facts of this case.

 

Statement of Claim

Write a short and plain statement of the claim, Do not make legal arguments. State as briefly as possible the
facts showing that each plaintiff is entitled to the injunction or other relief sought. State how each defendant
was involved and what each defendant did that caused the plaintiff harm or violated the plaintiff's rights,
including the dates and places of that involvement or conduct. If more than one claim is asserted, number each
claim and write a short and plain statement of each claim in a separate paragraph. Attach additional pages if

needed,

A. Where did the events giving rise to your claim(s) occur?
To preserve the status quo please see attached exhibits for the facts of this case.

 

B. What date and approximate time did the events giving rise to your claim(s) occur?
To preserve the status quo please see attached exhibits for the facts of this case.

 

Page 4 of 6
Case: 1:18-cv-00208-CAB Doc #: 1-1 Filed: 01/26/18 5 of 6. PagelD #: 11

Pro Se 2 (Rev. 12/16} Complaint and Request for Injunction...
Cc. What are the facts underlying your claim(s)? (For example: What happened to you? Who did what?

Was anyone else involved? Who else saw what happened?} | \ . as
o preserve the status quo the facts a (Kis wake is outlined in exhibits.

 

IV. Irreparable Injury

Explain why monetary damages at a later time would not adequately compensate you for the injuries you
sustained, are sustaining, or will sustain as a result of the events described above, or why such compensation

d not b red,
Func amental cast al rights are being ignored by the defendants ( privilege and immunities clause,

copyright clause of the Constitution, Corfield v. Coryell, 6 Fed. Cas. 546 (1823), freedom of movement has been
judicially recognized as a fundamental Constitutional right, 1,2,3 rd amendments) See exhibit A Affidavit of
political status for facts. What delegations of authority order allows this behavior from the defendants? Not
withstanding any alleged contract the defendents is in breach for lack of consideration to the plaintiff. The affiants
LIFE, liberty and pursuit of happiness is being viclated.See attached exhibits for the facts.

¥V. Relief

State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
arguments. Include any basis for claiming that the wrongs alleged are continuing af the present time. Include
the amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any
punitive or exemplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or

vrelore tts oy dame eS own its own motion rule that the Affient is the only living breathing person to put value
in to ANDRE MARQUIS COHEN, and the affiant is entitled to any equity attached, and any Interpleaded funds the
affiant( see attached exhibits)Rabbi Kohan EI- Bey Ali declare the only living person to put any value into ANDRE
MARQUIS COHEN, and the affiant is declared for the record entitled to any interpleaded fund,and the defendants
are for the official record barred from any collections of any alleged debt,and for the official record show we are
entitled to any interpleaded funds, and the defendants are for the official record barred from any collections of
any alleged debt of ANDRE MARQUIS COHEN or related to ANDRE MARQUIS COHEN (bankrupt terminated

entity)defendants having no claim in fact.

Page 5 of 6
Pro Se 2 (Rev. 12/16) Complaint and Request for Injunction

VI.

Case: 1:18-cv-00208-CAB Doc #: 1-1 Filed: 01/26/18 6 of 6. PagelD #: 12

Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below, | certify to the best of my knowledge, information,

and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause

unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have

evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable

opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
requirements of Rule 11,

A.

For Parties Without an Attorney

L agree to provide the Clerk’s Office with any changes to my address where case-related papers may be
served. I understand that my failure to keep a current address on file with the Clerk’s Office may result

in the dismissal of my case.

Date of signing:

Signature of Plaintiff
Printed Name of Plaintiff

For Attorneys

Daie of signing:

01/25/18

   
 

 

ANDRE.MARQUIS COHEN

 

Signature of Attorney
Printed Name of Attorney
Bar Number

Name of Law Firm

Street Address

State and Zip Code
Telephone Number
E-mail Address

 

 

 

 

Page 6 of 6
